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                                                                         FILED IN THE
                                                                     U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON



                                                               Nov 17, 2020
                                                                    SEAN F. MCAVOY, CLERK
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